 Case 6:17-cv-00448-MC      Document 64-9      Filed 11/16/18     Page 1 of 8




From: "Jennifer J. Freyd" <jjf@uoregon.edu>
Subject: survey generalizability
Date: June 5, 2015 at 20:52:56 PDT
To: Hal Sadofsky <sadofsky@uoregon.edu>
Cc: "John E. Bonine 2" <jbonine@uoregon.edu>

Dear Hal,

John Bonine told me a bit about his exchange with you regarding the
campus survey data my lab collected last summer. I wanted to chime in
on the issue of generalizability and the possible contamination due to
self-selection. This is a topic about which I am passionate (see attached
article).

You are absolutely right that generalizability is an important concern.
When considering a response rate less than 100% one has to ask what
drove some people to participate and others not. If those factors might
co-vary with what is being measured, then this is a compromise to the
generalizability of the research. The issue is not really the response rate
per se but the possibility of selection bias. In the case of our survey we
cannot be sure about all the factors that drove the decision. One factor
for sure is simply reading and opening email sent to a uoregon.edu
address during the summer. Another factor is likely a response to the
announced subject matter (and this is as likely to work against inflated
victimization rates as it is to inflate them given the reluctance most
victims have to disclose victimization). A primary factor is very likely
related to the incentive we offered — a $20.00 gift card to Amazon. In
fact, I refused to do the survey without offering participants the
financial incentive (which required I raise funds), as I felt it was
absolutely necessary for the integrity of the study exactly for sample
generalizability.

Still, you are right that we cannot be sure from the one study.
 Fortunately we have a vast amount of other data for comparison.
There are numerous national samples with similar survey questions. In
addition we have been collecting data at the UO for 20 years on sexual
victimization and while we never before set out to estimate rates at the
UO per se, we over the years collected much relevant data using the


                                                                   Ex. E, Page 1 of 8
                                                                Decl. of H. Sadofsky
 Case 6:17-cv-00448-MC       Document 64-9     Filed 11/16/18     Page 2 of 8




same or similar measures using a participant population that is not
vulnerable to self-selection based on interest in the topic (about this I'll
return). Nothing in our 2014 survey was inconsistent with either
national samples or our local samples.

The standard student sample we used in my lab is based on the
psychology department's human subject pool (HSP). We have worked
hard over many years to make sure this sample is not contaminated by
self-selection based on awareness of the study topic. I hope you will
take a look at the attached commentary (A Piea to University
Researchers) I wrote about this important methodological issue — you
will see I'm passionate about getting this piece of methodology done
right — and you will see that the UO does a better job on this front than
most other universities.

Of course the HSP is self-selected in another way — it is based on
students who take introductory psychology. According to the Registrar
about 40% of UO undergrads take our intro courses and thus are in our
pool at one point or another. It is conceivable that people who take
introductory psychology are more or less likely to be victimized while a
student at the UO than students who do not take introductory
psychology but I would be very surprised if this was a big effect — and
thus I believe our HSP data are in many ways more solid than those
from a campus survey in which we cannot entirely rule out self-selection
that contaminates generalizability. The campus survey data we
collected are generally quite consistent with what we have seen from
our HSP data over many years. However, we don't have the exact
comparison and thus (thanks to thinking about your exchange with
John) in the fall we plan to compare directly the HSP victimization rate
with the campus survey rate using the same questions. I'll keep you
posted on what we find.

One final thought: even if we had rampant self-selection in only one
direction such that the 80% of students who did not complete our
survey had zero victimization while 20% of the 20% who did complete
the survey experienced rape or attempted rape at the UO, this would



                                                                   Ex. E, Page 2 of 8
                                                                Decl. of H. Sadofsky
 Case 6:17-cv-00448-MC     Document 64-9     Filed 11/16/18     Page 3 of 8




still be unacceptable. In John's extrapolation calculus this would mean
that rather than 20 new victims each week, the UO has 4 new victims.
Presumably no wants 4 new victims of rape or attempted rape on our
campus each week.

There is much more information about our 2014 survey here:
httpjjdynamic.uoregon.edual/campus/index.html

Jennifer

Jennifer J. Freyd
Professor of Psychology
University of Oregon
Eugene, OR 97403-1227
http://dynamic.uoregon.edu/




                                                                Ex. E, Page 3 of 8
                                                              Decl. of H. Sadofsky
 Case 6:17-cv-00448-MC          Document 64-9       Filed 11/16/18     Page 4 of 8




From: Hal Sadofsky <sadofsky@uoregon.edu>
Subject: Re: survey generalizability
Date: June 5, 2015 at 22:40:01 PDT
To: "Jennifer J. Freyd" <jjf@uoregon.edu>
Cc: "John E. Bonine 2" <jbonine@uoregon.edu>

Dear Jennifer,

Yes, my main point to John was that the significant possibility of sample bias
meant that generalizing your sample to the entire UO population is speculative.
 I'm sure you agree with that; as an esteemed colleague of mine writes: "the
most pernicious threat to external validity in participant selection occurs through
self- selection, which can occur outside the researcher's awareness." She then
goes on to write "This means, for instance, that individuals who respond to a
research advertisement asking for people who have experienced a traumatic
event (or abuse, etc.) may constitute an atypical sample compared to the general
population of trauma survivors."

Your final point belowl absolutely agree with and is one that echoes what I wrote
to John in my first email. I wrote "In some sense it isn't important: this is a real
problem and we need to take real steps to improve it. But the steps taken to
make improvements do actually depend on the details to some extent."

yours, Hal


On Jun 5, 2015, at 8:52 PM, Jennifer J. Freyd <jjfguoregon.edu> wrote:

Dear Hal,

John Bonine told me a bit about his exchange with you regarding the campus
survey data my lab collected last summer. I wanted to chime in on the issue of
generalizability and the possible contamination due to self-selection. This is a
topic about which I am passionate (see attached article).

You are absolutely right that generalizability is an important concern. When
considering a response rate less than 100% one has to ask what drove some
people to participate and others not. If those factors might co-vary with what is
being measured, then this is a compromise to the generalizability of the research.
 The issue is not really the response rate per se but the possibility of selection
bias. In the case of our survey we cannot be sure about all the factors that drove
the decision. One factor for sure is simply reading and opening email sent to a
uoregon.edu address during the summer. Another factor is likely a response to
the announced subject matter (and this is as likely to work against inflated
victimization rates as it is to inflate them given the reluctance most victims have
to disclose victimization). A primary factor is very likely related to the incentive
we offered — a $20.00 gift card to Amazon. In fact, I refused to do the survey



                                                                       Ex. E, Page 4 of 8
                                                                     Decl. of H. Sadofsky
  Case 6:17-cv-00448-MC         Document 64-9        Filed 11/16/18     Page 5 of 8




without offering participants the financial incentive (which required I raise funds),
as I felt it was absolutely necessary for the integrity of the study exactly for
sample generalizability.

Still, you are right that we cannot be sure from the one study. Fortunately we
have a vast amount of other data for comparison. There are numerous national
samples with similar survey questions. In addition we have been collecting data
at the UO for 20 years on sexual victimization and while we never before set out
to estimate rates at the UO per se, we over the years collected much relevant
data using the same or similar measures using a participant population that is not
vulnerable to self-selection based on interest in the topic (about this I'll return).
 Nothing in our 2014 survey was inconsistent with either national samples or our
local samples.

The standard student sample we used in my lab is based on the psychology
department's human subject pool (HSP). We have worked hard over many years
to make sure this sample is not contaminated by self-selection based on
awareness of the study topic. I hope you will take a look at the attached
commentary(A Plea to University Researchers) I wrote about this important
methodological issue — you will see I'm passionate about getting this piece of
methodology done right — and you will see that the UO does a better job on this
front than most other universities.

Of course the HSP is self-selected in another way — it is based on students who
take introductory psychology. According to the Registrar about 40% of UO
undergrads take our intro courses and thus are in our pool at one point or
another. It is conceivable that people who take introductory psychology are
more or less likely to be victimized while a student at the UO than students who
do not take introductory psychology but I would be very surprised if this was a big
effect — and thus I believe our HSP data are in many ways more solid than those
from a campus survey in which we cannot entirely rule out self-selection that
contaminates generalizability. The campus survey data we collected are
generally quite consistent with what we have seen from our HSP data over many
years. However, we don't have the exact comparison and thus (thanks to
thinking about your exchange with John) in the fall we plan to compare directly
the HSP victimization rate with the campus survey rate using the same
questions. I'll keep you posted on what we find.

One final thought: even if we had rampant self-selection in only one direction
such that the 80% of students who did not complete our survey had zero
victimization while 20% of the 20% who did complete the survey experienced
rape or attempted rape at the UO, this would still be unacceptable. In John's
extrapolation calculus this would mean that rather than 20 new victims each
week, the UO has 4 new victims. Presumably no wants 4 new victims of rape or
attempted rape on our campus each week.

There is much more information about our 2014 survey here:



                                                                         Ex. E,Page 5 of 8
                                                                      Decl. of H. Sadofsky
 Case 6:17-cv-00448-MC        Document 64-9     Filed 11/16/18     Page 6 of 8




http://dynamic.uoregon.eduy/campus/index.html

Jennifer

Jennifer J. Freyd
Professor of Psychology
University of Oregon
Eugene, OR 97403-1227
http://dynamic.uoregon.edu/

 Freyd 2012 A Plea to Researchers.pdf>




                                                                    Ex. E, Page 6 of 8
                                                                 Decl. of H. Sadofsky
  Case 6:17-cv-00448-MC     Document 64-9     Filed 11/16/18     Page 7 of 8




From: Jennifer Freyd <jjf@uoregon.edu>
Subject: CASBS press release
Date: March 5, 2018 at 07:38:00 PST
To: "(W.) Andrew Marcus" <marcus@uoregon.edu>, Hal Sadofsky
<sadofsky@uoregon.edu>, Ulrich Mayr <mayr@uoregon.edu>

Dear Andrew and Hal,
Thank you again for your support of my upcoming CASBS fellowship. I
thought you might want to see this notice from CASBS regarding the
fellows selected for next year. It specifically mentions the sexual
violence project.
httpj -/casbs.stanford.edu/casbs-announces-2018-19-fellows
With appreciation,
Jennifer

PS Hal, I keep forgetting to alert you to a new publication from my lab
that directly assesses the role of self-selection in campus victimization
estimates based on climate surveys. (You may remember we discussed
this a few years ago.) My team took advantage of how well the UO
psychology department structures its own human subject pool in order
to get a sample in which self-selection is greatly reduced and we were
thus able to compare estimates of victimization rates.
httpjjkligita'corn m ns.u rLed uid ign ityjvo13/iss1///




                                                                  Ex. E, Page 7 of 8
                                                               Decl. of H. Sadofsky
 Case 6:17-cv-00448-MC          Document 64-9       Filed 11/16/18     Page 8 of 8




From: Hal Sadofsky <sadofsky@uoregon.edu>
Subject: Re: CASBS press release
Date: March 5, 2018 at 08:47:06 PST
To: Jennifer Freyd <jjf@uoregon.edu>
Cc: "(W.) Andrew Marcus" <marcus@uoregon.edu>, Ulrich Mayr
<mayr@uoregon.edu>

Dear Jennifer,

Thanks for the press release, and also thanks for the link to the article. l look
forward to trying to understand it (since it is mostly about data collection and
analysis, l may be _able_ to understand it)!

yours, Hal


On Mar 5, 2018, at 7:38 AM, Jennifer Freyd <jjf@uoregon.edu> wrote:
Dear Andrew and Hal,
Thank you again for your support of my upcoming CASBS fellowship. l
thought you might want to see this notice from CASBS regarding the
fellows selected for next year. It specifically mentions the sexual
violence project.
http_yjicasbs.stanford.eduicasbs-announces-2018-19-fellows
With appreciation,
Jennifer

PS Hal, l keep forgetting to alert you to a new publication from my lab
that directly assesses the role of self-selection in campus victimization
estimates based on climate surveys. (You may remember we discussed
this a few years ago.) My team took advantage of how well the UO
psychology department structures its own human subject pool in order
to get a sample in which self-selection is greatly reduced and we were
thus able to compare estimates of victimization rates.
http_iljdigitalcommons.uri.eduaignityjvolViss11_71




                                                                        Ex. E, Page 8 of 8
                                                                     Decl. of H. Sadofsky
